                       Case 6:20-cv-00108-ADA Document 301 Filed 02/09/23 Page 1 of 2


AO 120 (Rev. 08/10)

                              Mail Stop 8                                                     REPORT ON THE
TO:
           Director of the U.S. Patent and Trademark Office                            FILING OR DETERMINATION OF
                             P.O. Box 1450                                            AN ACTION REGARDING A PATENT
                      Alexandria, VA 22313-1450                                               OR TRADEMARK

                    In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
           filed in the U.S. District Court       Western District of Texas - Waco Division                               on the following
        Trademarks or        x Patents. (       the patent action involves 35 U.S.C. § 292.):
DOCKET NO.                        DATE FILED                       U.S. DISTRICT COURT
  6:20-cv-00108                    2/11/2020                             Western District of Texas - Waco Division
PLAINTIFF                                                                  DEFENDANT

          ParkerVision, Inc.                                                         Intel Corporation



        PATENT OR                      DATE OF PATENT
                                                                                      HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1     6,049,706                     4/11/2000                               ParkerVision, Inc.

2 6,580,902                         6/17/2003                               ParkerVision, Inc.

3     7,110,444                     9/12/2006                               ParkerVision, Inc.

4 7,539,474                         5/26/2009                               ParkerVision, Inc.

5     8,588,725                     11/19/2013                              ParkerVision, Inc.


                                 In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                   Amendment                    Answer            Cross Bill             Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                      HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                     OR TRADEMARK
                                    2/25/2014                               ParkerVision, Inc.
6 8,660,513
                                    1/26/2016                               ParkerVision, Inc.
7 9,246,736
                                    9/13/2016                               ParkerVision, Inc.
8 9,444,673

9

10


                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
    2/9/23 Stipulation and Order of Dismissal - Doc #300



CLERK                                                      (BY) DEPUTY CLERK                                             DATE
                                                                                                                           02/ 9 23
                   Case 6:20-cv-00108-ADA Document 301 Filed 02/09/23 Page 2 of 2

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
